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MARVIN LLOYD ETHRIDGE : 14™ JUDICIAL DISTRICT COURT

VS. NO. 2020 -_/ 3 7 DIV__ : PARISH OF CALCASIEU

ROBERT JOHN METRA, FUELLGRAF
CHIMNEY & TOWER, INC., AND
HARLEYSVILLE INSURANCE

COMPANY : STATE OF LOUISIANA

FILED: 2. ( 9262-0

 

PETITION FOR DAMAGES

The petition of MARVIN LLOYD ETHRIDGE, a person of the full age of majority, and

a resident of the Parish of Calcasieu, State of Louisiana who with respect represent:
L.

Made Defendants herein are:

ROBERT JOHN METRA, a person of the age of majority and a resident of the State of

Tennessee, who may be served through the Louisiana Long Arm Statute at his residence

located at 1066 Forest Heights Road, Knoxville, TN 37919;

FUELLGRAF CHIMNEY & TOWER, INC., a business located in the State of

Pennsylvania, who may be served through the Louisiana Long Arm Statute at their place

of business located at 1126 New Castle Road, Prospect, PA 16052; and

HARLEYSVILLE INSURANCE COMPANY, a foreign insurance company located in

the State of Pennsylvania, who may be served through the Louisiana Secretary of State,

8585 Archives Boulevard, Baton Rouge, LA 70809.

2.

On or about May 21, 2019, Petitioner, MARVIN LLOYD ETHRIDGE was operating his
2012 Chevrolet Malibu and was southbound on Ryan Street in the left turning lane and was stopped
for a red traffic light and as the light changed to green, suddenly and without warning he was rear-
ended by defendant, ROBERT JOHN METRA, who was driving a 2018 Chevy Silverado.
ROBERT JOHN METRA was in the course and scope of his employment with FUELLGRAF
CHIMNEY AND TOWER, INC.

3.

In no way did Petitioner, MARVIN LLOYD ETHRIDGE contribute to causing this

collision.

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4.

The collision described above was caused solely and proximately by the recklessness,
carelessness, negligence and fault of ROBERT JOHN METRA in violation of Louisiana traffic
laws.

5.

At all times pertinent herein, the 2018 Chevy Silverado driven by ROBERT JOHN
METRA, and owned by defendant, FUELLGRAF CHIMNEY & TOWER, INC., and was covered
by a liability insurance policy which had been issued and delivered by HARLEYSVILLE
INSURANCE COMPANY, which policy was in full force and affect and provided coverage for
this crash.

6.

Defendants, ROBERT JOHN METRA, FUELLGRAF CHIMNEY & TOWER, INC., and
HARLEYSVILLE INSURANCE COMPANY (NOW NATIONWIDE INSURANCE) are
therefore liable in solido unto your Petitioner for the damages and losses sustained by Petitioner
in said crash.

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As a result of this crash, Petitioner, MARVIN LLOYD ETHRIDGE was forced to undergo

medical treatment, and has suffered restrictions and limitations upon his activities.
8.

As a result of the collision pled herein, plaintiff has suffered harms and losses, of which
have historically been categorized as Special and General Damages under Louisiana law, said
Special Damages to include medical bills.

9.

Petitioner herein, MARVIN LLOYD ETHRIDGE is therefore entitled to damages for the

items set forth above in such amounts as are reasonable in the premises, which damages are not

less than Fifty Thousand and No/100 ($50,000.00) Dollars.
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WHEREFORE, Petitioner, MARVIN LLOYD ETHRIDGE prays that:

L Defendants be duly cited to appear and answer this petition and they be served with
a copy of this petition;

Il. After due proceedings had and the lapse of all legal delays, there be judgment herein
in favor of Petitioner, MARVIN LLOYD ETHRIDGE, and against the Defendants, ROBERT
JOHN METRA, FUELLGRAF CHIMNEY & TOWER, INC., and HARLEYSVILLE
INSURANCE COMPANY, herein jointly, individually and in solido, for such damages as are
reasonable in the premises, together with legal interest thereon from date of judicial demand until
paid, and for all costs of these proceedings.

Il. For all orders and decrees necessary in the premises; and for full, general and

equitable relief.

Respectfully submitted,

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Weed) Hoda ww
MICHAEL G. HODGKINS, BR#20862
Veron, Bice, Palermo & Wilson, L.L.C.
721 Kirby Street (70601)

Lake Charles, LA 70602

(337) 310-1600 Fax: (337) 310-1601
Email: mgh@veronbice.com

 

SERVICE INSTRUCTIONS:

ROBERT JOHN METRA

through the Louisiana Long Arm Statute
1066 Forest Heights Road

Knoxville, TN 37919

FUELLGRAF CHIMNEY & TOWER, INC.
through the Louisiana Long Arm Statute

at their place of business

126 New Castle Road

Prospect, PA 16052

HARLEYSVILLE INSURANCE COMPANY
Through the Louisiana Secretary of State

8585 Archives Boulevard

Baton Rouge, LA 70809
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LOUISIANA CIVIL CASE REPORTING
Civil Case Cover Sheet - LA. R.S. 13:4688 and
Part G, §13, Louisiana Supreme Court General Administrative Rules

This civil case cover sheet shall be completed by counsel for the petitioner, counsel’s authorized
representative, or by the self-represented litigant (if not represented by counsel) and submitted with the
original petition filed with the court. The information should be the best available at the time of filing. This

information does not constitute a discovery request, response or supplementation, and is not admissible at
trial.

Suit Caption: MARVIN LLOYD ETHRIDGE i ROBERT JOHN METRA, FUELLGRAF
CHIMNEY & TOWER, INC., AND
HARLEYSVILLE INS. COMPANY

Court: 14" JUDICIAL DISTRICT COURT Docket Number:

 

Parish of Filing: Calcasieu Filing Date:

 

Name of Lead Petitioner’s Attorney: MICHAEL G. HODGKINS,
VERON, BICE, PALERMO & WILSON

Name of Self-Represented Litigant:

 

Number of named petitioners: 1 Number of named defendants: 3

Type of Lawsuit: Please check the categories which most appropriately apply to this suit (no more
than 3 categories should be checked):

_x_ Auto: Personal Injury __ Auto: Property Damage
__Auto: Wrongful Death __ Auto: Uninsured Motorist
__Asbestos: Property Damage __ Asbestos: Personal Injury/Death
__ Product Liability __ Premise Liability

__ Intentional Bodily Injury __ Intentional Property Damage
__Intentional Wrongful Death __Unfair Business Practice

__ Business Tort __ Fraud

__ Defamation __Professional Negligence
__Environmental Tort __Medical Malpractice

__ Intellectual Property __Toxic Tort

__Legal Malpractice __ Other Tort (describe below)
__ Other Professional Malpractice __Redhibition

__ Maritime __Class action (nature of case)
__Wrongful Death _x_Personal Injuries

__General Negligence

Please briefly describe the nature of the litigation in one sentence of additional detail:
This is an automobile crash that occurred in Lake Charles, Louisiana on May 21, 2019 involving two
automobiles wherein injuries were sustained.

Following the completion of this form by counsel, counsel’s representative, or by the self-represented

litigant, this document will be submitted to the Office of the Judicial Administrator, Supreme Court of
Louisiana, by the Clerk of Court.

Name, address and contact information of person completing form: er | id Lek
A\ | | \
‘ \ " VIX KA
Name MICHAEL G. HODGKINS Signature | \ lar ul ¥ —

Address P.O. BOX 2125, LAKE CHARLES, LA 70602
Phone number 337-310-1600 E-mail address mgh@veronbice.com

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Sercasiet Parish, Louisiana

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